
216 Md. 650 (1958)
141 A.2d 156
PLUMP
v.
WARDEN OF MARYLAND PENITENTIARY
[H.C. No. 110, September Term, 1957.]
Court of Appeals of Maryland.
Decided April 29, 1958.
Before BRUNE, C.J., and HENDERSON, HAMMOND, PRESCOTT and HORNEY, JJ.
HAMMOND, J., delivered the opinion of the Court.
Applicant for leave to appeal from a denial of a writ of habeas corpus by Judge Michaelson of the Circuit Court for Anne Arundel County complains that he was subjected to unlawful search and seizure and that his indictment was defective. We have repeatedly held that neither ground can be raised on habeas corpus. Applicant further contends that his *651 four-year sentence exceeds the maximum permitted by law (as to which we express no opinion), but until he serves so much of the sentence as he concedes was within the power of the court to impose (eighteen months), which the record shows he is far from having done, his application is premature and will not be entertained. Ramberg v. Warden, 209 Md. 631, 633.
Application denied, with costs.
